 1                                              THE HONORABLE MARY JO HESTON
                                                CHAPTER 13
 2
                                                HEARING DATE: June 25, 2019
                                                HEARING TIME: 1:00 p.m.
 3
                                                LOCATION: Tacoma, Washington
 4                                              RESPONSE DUE: June 18, 2019

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                      IN THE UNITED STATES BANKRUPTCY COURT FOR
10                    THE WESTERN DISTRICT OF WASHINGTON AT TACOMA

11
     In Re:                                           Case. No: 19-41010-MJH
12
     AMY MELISSA BOYD,                                TRUSTEE’S OBJECTION TO EXEMPTIONS
13                                                    AND NOTICE OF HEARING
                                            Debtor.
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15                                             NOTICE
16            YOU ARE HEREBY NOTIFIED that a hearing on Trustee’s Objection to Exemptions

17   will be heard before the Honorable Mary Jo Heston at 1:00 p.m. on June 25, 2019 at the Union

18   Station, 1717 Pacific Avenue, Tacoma, Wa., 98402, Courtroom H.

19            IF YOU OPPOSE this objection, you must file your written response with the Court

20   Clerk and deliver copies on the undersigned and all interested parties, NOT LATER THAN

21   THE RESPONSE DATE, which is June 18, 2019. You should also appear at the time of

22   hearing. If you fail to do so, the Court may enter an order granting the motion without any

23   hearing and without further notice.

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                                                                                 Michael G. Malaier
     TRUSTEE’S OBJECTION TO EXEMPTIONS
                                                                         Chapter 13 Standing Trustee
     AND NOTICE OF HEARING                     -1
                                                                          1551 Broadway, Suite 600
                                                                                Tacoma, WA 98402
 1                                            OBJECTION
 2          COMES NOW, Michael G. Malaier, Chapter 13 Trustee, and hereby objects to Debtor’s

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     claimed exemptions pursuant to Fed. R. Bankr. P. 4003(b). Trustee makes this objection without
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     limitation to those exemptions set forth on Schedule C of the bankruptcy schedules filed in this
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     case. Trustee objects to specific exemptions as outlined in the table below as follows:
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       Description          of Statute(s) Cited        Exemption            Petition      Trustee’s
 7     property                                        Claimed              Value         Estimated
                                                                                          Value
 8    19623 139TH St. E.        RCW §§                 $125,000.000         $487,249.00 Unknown
      Bonney Lake, WA           6.13.010;
 9                              6.13.020;
                                6.13.030
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            The property commonly known as 19623 139th St. E., Bonney Lake, Washington, does
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     not qualify as debtor’s homestead. The claimed exemption applies only to “real or personal
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     property that the owner uses as a residence. In the case of a dwelling house or mobile home, the
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     homestead consists of the dwelling house or the mobile home in which the owner resides or
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     intends to reside” RCW § 6.13.010 (emphasis added). In the present case, the debtors reside at
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     11113 185th Ave. E., Bonney Lake, Washington. ECF # 1, pg. 2. Based on debtor’s original

18   plan, the intent was to surrender the property, not retain it as a residence. ECF # 2. Further,

19   based on debtors amended plan (ECF #18), debtor’s estranged husband is living in the property

20   and making the payments on the loan. As such, the debtor is neither living in the home, nor
21   does she intend to live in the home. Therefore, her claimed homestead exemption should be
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     disallowed.
23
            DATED this 28th Day of May 2019.
24                                                /s/ Matthew J.P. Johnson
                                                  Matthew J.P. Johnson, WSBA# 40476, for
25                                                Michael G. Malaier, Chapter 13 Trustee


                                                                                    Michael G. Malaier
     TRUSTEE’S OBJECTION TO EXEMPTIONS
                                                                            Chapter 13 Standing Trustee
     AND NOTICE OF HEARING                        -2
                                                                             1551 Broadway, Suite 600
                                                                                   Tacoma, WA 98402
 1
                                         CERTIFICATE OF MAILING
 2

 3           I certify under penalty of perjury under the laws of the United States that I caused to be mailed
     via regular mail a true and correct copy of Trustee’s Objection to Exemptions and proposed Order to the
 4   following:

 5           Amy Melissa Boyd
             11113 – 185th Ave. E.
 6           Bonney Lake, WA 98391

 7           The following parties received Trustee’s Objection to Exemptions and proposed Order via ECF:

 8           Ellen Ann Brown
             Lesley Lueke
 9           U.S. Trustee

10           Executed at Tacoma, Washington this 28th day of May, 2019.

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12                                                            /s/ Tracy Maher
                                                              Tracy Maher
13                                                            Motion Coordinator for
                                                              Chapter 13 Trustee
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                                                                                          Michael G. Malaier
     TRUSTEE’S OBJECTION TO EXEMPTIONS
                                                                                  Chapter 13 Standing Trustee
     AND NOTICE OF HEARING                           -3
                                                                                   1551 Broadway, Suite 600
                                                                                         Tacoma, WA 98402
